Case 2:19-cv-07722-ODW-JEM Document 88 Filed 06/26/20 Page 1 of 4 Page ID #:3742




  1   BENJAMIN VAUGHN, DC Bar #999347
      E-mail: Benjamin.vaughn@cfpb.gov
  2   Phone: (202) 435-7964
      GABRIEL HOPKINS, NY Bar #5242300
  3   E-mail: Gabriel.hopkins@cfpb.gov
      Phone: (202) 435-7842
  4   1700 G Street, NW
      Washington, DC 20552
  5   Fax: (202) 435-7722
  6   LEANNE E. HARTMANN, CA Bar #264787 - Local Counsel
      E-mail: Leanne.hartmann@cfpb.gov
  7   301 Howard St., Suite 1200
      San Francisco, CA 94105
  8   Phone: (415) 844-9787
      Fax: (415) 844-9788
  9
      Attorneys for Plaintiff Bureau of Consumer Financial Protection
 10
 11
                           UNITED STATES DISTRICT COURT
 12                       CENTRAL DISTRICT OF CALIFORNIA
 13
      Bureau of Consumer Financial Protection, )
 14                                            )      Case No.: 2:19−cv−07722 ODW (JEMx)
                    Plaintiff,                 )
 15                                            )      JOINT MOTION FOR ENTRY OF
             vs.                               )      STIPULATED FINAL JUDGMENT AND
 16                                            )      ORDER AS TO DEFENDANTS
      Certified Forensic Loan Auditors, LLC    )      CERTIFIED FORENSIC LOAN
 17   (California); Certified Forensic Loan    )      AUDITORS, LLC (CALIFORNIA);
      Auditors, LLC (Texas); Andrew Lehman; )         CERTIFIED FORENSIC LOAN
 18   and Michael Carrigan,                    )      AUDITORS, LLC (TEXAS); AND
                                               )      ANDREW LEHMAN
 19                 Defendants.
 20
 21         The Bureau of Consumer Financial Protection (Bureau) has filed in this Court
 22   its Amended Complaint against Defendants Certified Forensic Loan Auditors, LLC
 23   (TX), Certified Forensic Loan Auditors, LLC (CA), and Andrew Lehman
 24   (collectively “Defendants”) under the Consumer Financial Protection Act of 2010
 25   (CFPA), 12 U.S.C. §§ 5531, 5536(a), 5564 and 5565, and under section 626 of the
 26   Omnibus Appropriations Act, 2009 (as amended by section 1097 of the CFPA), 12
 27   U.S.C. § 5538, and its implementing regulation, the Mortgage Assistance Relief
 28   Services Rule (Regulation O), 12 C.F.R. pt. 1015 (2011).
                       JOINT MOTION FOR ENTRY OF STIPULATED JUDGMENT AND ORDER
                                                 1
Case 2:19-cv-07722-ODW-JEM Document 88 Filed 06/26/20 Page 2 of 4 Page ID #:3743




  1         The Bureau and Defendants have agreed to the attached Stipulated Final
  2   Judgment and Order, which if entered by the Court, would resolve all matters in
  3   dispute in the action between them.
  4         The Bureau and Defendants hereby jointly move that the court approve and
  5   enter the Stipulated Final Judgment and Order attached as Attachment A – Stipulated
  6   Final Judgment and Order.
  7
  8         Dated: June 26, 2020             Respectfully submitted,
  9
                                             /s/ Benjamin Vaughn
 10                                          Benjamin Vaughn (pro hac vice)
                                             Gabriel Hopkins (pro hac vice)
 11                                          Leanne Hartmann
 12                                          Consumer Financial Protection Bureau
                                             1700 G Street, NW
 13                                          Washington, DC 20552
 14                                          Attorneys for Plaintiff
                                             Bureau of Consumer Financial Protection
 15
 16                                          /s/ Maryam Atighechi
 17                                          9465 Wilshire Blvd Suite 300
                                             Beverly Hills, CA 90212
 18                                          Telephone: 424-284-4258
 19                                          Fax: 310-773-4541
                                             E-mail: Maryam@familylaw-firm.com
 20                                          Attorney for Defendants Certified Forensic
 21                                          Loan Auditors, LLC (CA), Certified Forensic
                                             Loan Auditors, LLC (TX),
 22
 23                                          /s/ Andrew Lehman
                                             Andrew Lehman (pro se)
 24                                          94 Bayou Lane
 25                                          Kemah, TX 77565
 26
 27                                          Pursuant to L.R. 5-4.3.4.(a)(2)(i), I attest that
                                             the other signatories listed, and on whose
 28
                       JOINT MOTION FOR ENTRY OF STIPULATED JUDGMENT AND ORDER
                                                 2
Case 2:19-cv-07722-ODW-JEM Document 88 Filed 06/26/20 Page 3 of 4 Page ID #:3744



                                           behalf this filing is submitted, concurs in the
  1
                                           filing’s content and has authorized the filing.
  2
                                           /s/ Benjamin Vaughn
  3
                                           Benjamin Vaughn
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                     JOINT MOTION FOR ENTRY OF STIPULATED JUDGMENT AND ORDER
                                               3
Case 2:19-cv-07722-ODW-JEM Document 88 Filed 06/26/20 Page 4 of 4 Page ID #:3745




  1                               CERTIFICATE OF SERVICE
  2   I, Benjamin Vaughn, hereby certify that the foregoing Motion for Entry of Stipulated
  3   Judgment and Order was served electronically on the parties via the Court’s
  4   electronic filing system.
  5
  6   Date: June 26, 2020
  7
  8                                           /s/ Benjamin Vaughn
  9                                           Benjamin Vaughn (pro hac vice)
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                        JOINT MOTION FOR ENTRY OF STIPULATED JUDGMENT AND ORDER
                                                  1
